                             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

 MICHELLE L. ALMANZA,                                        CIV. NO.: 3:15-cv-389
                                                             (VARLAN/GUYTON)
                Plaintiff,

        v.

 JEFFERSON B. SESSIONS, III,
 Attorney General, United States Department
 of Justice,

                Defendant.


        This Settlement Agreement and General Release (“Agreement”), is entered into by and

 between Michelle L. Almanza (“Plaintiff”), and Jefferson B. Sessions, III, Attorney General,

 United States Department of Justice (“Defendant”), collectively herein referred to as the

 “Parties.”

        WHEREAS Plaintiff and Defendant wish to avoid any further litigation and controversy

 and to settle and compromise claims and issues that have been raised, or could have been raised,

 arising out of Plaintiff's employment with Defendant, which have transpired prior to the

 execution of this Agreement, and

        WHEREAS Plaintiff has commenced litigation in the United States District Court for the

 Eastern District of Tennessee, identified as Civil Action No 3:15-cv-389.

        NOW, THEREFORE, in consideration of the mutual promises contained herein, and

 other good and valuable consideration, receipt of which is hereby acknowledged, and to avoid

 unnecessary litigation, it is agreed as follows:




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        FIRST: After full and open discussion, and subject to subsection e. of the FIFTH

 paragraph, the parties hereby mutually release and forever discharge one another, their past and

 present respective officers, agents, and employees, from any and all claims, remedies, demands,

 suits, rights, damages, union grievances, charges, administrative remedies (including but not

 limited to equal employment opportunity complaints (EEO), and Merit System Protection Board

 (MSPB) or Equal Employment Opportunity Commission (EEOC) filings), and causes of action

 of any and every kind, nature, and character, known and unknown, which the parties may now

 have or have ever had against one another, or any of their officers, agents, and employees, which

 arose in whole or in part from Plaintiff's employment relationship with Defendant, and which are

 based upon incidents, occurrences, or actions taking place prior to the execution of this

 Agreement (“Claims”), except as otherwise provided herein.

        SECOND: This Agreement shall not in any way be construed as an admission by

 Defendant that it has acted wrongfully with respect to Plaintiff, that there was any liability or

 wrongdoing on the part of Defendant with regard to Plaintiff, and Defendant specifically

 disclaims any liability to or wrongful acts against Plaintiff on the part of it, its officers, agents or

 employees, nor shall this be construed as an admission by Plaintiff of lack of merit of any of her

 Claims.

        THIRD: Defendant agrees to pay NINETY-FIVE THOUSAND DOLLARS ($95,000.00)

 (the “Settlement Sum”) by Electronic Funds Transfer (EFT) to counsel for Plaintiff, Jennifer

 Morton, Esq., FBO Michelle L. Almanza. Counsel for Plaintiff agrees to provide the remaining

 banking information requested by the United States to effectuate the transfer, including Name of

 Bank, Street Address of Bank, City, State and Zip Code of Bank, Federal Reserve Number,

 Routing Number, Name of Account, and Account Number. Plaintiff’s attorney agrees to



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 distribute the settlement proceeds to Plaintiff, and the Parties agree to notify the court in a joint

 status report that all claims, except for Plaintiff’s claim for attorneys’ fees and costs, have been

 resolved subject to this agreement, including the claim remaining for the court to resolve as part

 of the above-captioned action 3:15-cv-389. Further, the parties acknowledge that $32,000 of the

 Settlement Sum constitutes the jury verdict that Plaintiff obtained at trial in the above-captioned

 action 3:15-cv-389 (Doc. Nos. 105, 114). Plaintiff will be solely responsible for her portion of

 any taxes assessed against her as a result of the tax treatment of the settlement payment,

 whatever that might be. The payment will be reported to the Internal Revenue Service (“IRS”)

 on a Form 1099-Misc in Michelle Almanza’s name.

        FOURTH: Defendant agrees to restore three weeks of annual leave to Plaintiff.

        FIFTH: Plaintiff agrees to:

        a. Withdraw all her pending Claims against the Defendant in every forum, including the

            claims pending before the Eastern District of Tennessee, with the exception of

            Plaintiff’s claims for attorneys’ fees and costs as further explained in subsection e. to

            this paragraph.

        b. Withdraw her pending actions against the Defendant in every forum, including the

            Individual Right of Action (IRA) appeal and underlying claims brought pursuant to

            the Whistleblower Protection Enhancement Act pending before the Merit System

            Protection Board, Docket Number: AT-1221-16-0232-W-4.

        c. Forego refile of the IRA Merit System Protection Board, Docket Number: AT-1221-

            16-0232-W-4, or any other matter, that would be captioned AT-1221-16-0232-W-5.

        d. Submit the Joint Stipulation of Dismissal of Plaintiff’s IRA appeal and underlying

            claims to the MSPB within seven (7) days after Plaintiff’s receipt of the Settlement



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            Sum and annual leave, described in the Third and Fourth paragraphs above. Plaintiff

            acknowledges that her failure to timely submit the Joint Stipulation of Dismissal to

            the MSPB may be considered a breach of this Agreement and could result in the

            forfeiture of the Settlement Sum.

        e. Notwithstanding anything else in this Agreement, the parties agree that Plaintiff

            retains the right to file a Motion for the Award of Attorneys’ Fees and Expenses in

            the district court for the Eastern District of Tennessee in her pending lawsuit

            identified as Civil Action No 3:15-cv-389.

        SIXTH: Any dispute over attorneys’ fees and costs incurred in the drafting of this

 Agreement will be addressed to the district court as part of the fee litigation.

        SEVENTH: Subject to subsection e. of the FIFTH paragraph of this Agreement, the

 Parties expressly acknowledge that this Agreement is intended to effect, without limitation, a full

 and final release of all Claims, known or unknown, undisclosed or unanticipated, which may

 have arisen, or may arise from Plaintiff's employment relationship with Defendant prior to the

 date of this Agreement, including, but not limited to, any alleged violation of Title VII of the

 Civil Rights Act of 1964; the Civil Rights Act of 1991; and the Age Discrimination in

 Employment Act of 1967. The Plaintiff acknowledges that different or additional facts may be

 discovered in addition to what she knows or believes to be true with respect to the Claims

 released, and that she agrees that this Agreement will remain in effect in all aspects as a full and

 final release of the Claims, notwithstanding different or additional facts.

        EIGHTH: Plaintiff represents that she is the sole possessor of the Claims being released

 and that she has not assigned or otherwise transferred any Claims.




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         NINTH: Plaintiff agrees that at no time after the date of this Agreement will she

 commence, maintain, or prosecute any action, at law or otherwise, or assert any Claim against

 Defendant that has been released, and/or execute or enforce any judgment against Defendant that

 has been released, for damages, losses or for equitable relief related to the Claims released.

 Plaintiff does not waive any right to pursue claims that may arise after the date of this

 Agreement.

         TENTH: Plaintiff understands and agrees that this Agreement shall bind and be binding

 upon her heirs, personal representatives, spouse, executors, administrators and assigns.

         ELEVENTHTH: This Agreement shall be interpreted in accordance with the plain meaning

 of its terms and not strictly for or against any of the Parties hereto.

         TWELFTH: The Parties agree that should any provision of this Agreement be declared or

 determined by any court to be illegal, invalid or unenforceable, the remainder of the Agreement

 shall nonetheless remain binding and in effect.

         THIRTEENTH: This Agreement constitutes the full and complete agreement between the

 Parties and fully supersedes any and all prior agreements or understandings between the Parties

 pertaining to the subject matter hereof. There are no oral side agreements or understandings. No

 other promises or agreements shall be binding unless signed by the Parties.

         FOURTEENTH: The Parties agree that should a dispute arise regarding the

 implementation of this Agreement, the party alleging the breach or violation of the Agreement

 will notify the other party’s attorney, as designated in this document below, in a writing that

 provides sufficient information concerning the nature of the alleged breach or violation, and will

 allow 30 (thirty) days for the opposing party to cure or otherwise address the alleged breach or

 violation. It is the intent of this subparagraph to allow the parties a reasonable time to correct



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 any real or perceived difficulties arising from the implementation of this Agreement prior to

 taking any further action. It is further agreed that in the event of any dispute concerning the

 terms of this Agreement, or the implementation of the terms thereof, contract law applies to the

 interpretation of this agreement

        FIFTEENTH: Plaintiff represents and agrees that she is of legal age and mentally

 competent to execute this Agreement and fully understands her right to discuss this Agreement

 with an attorney; that to the extent, if any, she desired, she has availed herself of this opportunity;

 that she has carefully read and fully understands all the provisions of this Agreement; and that

 she is voluntarily entering into this Agreement with full understanding of its legal consequences

 and without any duress or pressures.

        SIXTEENTH: In consideration of the foregoing, the parties hereby agree to prepare and

 file stipulations seeking dismissal with prejudice of the claims and pending actions identified in

 and resolved by this agreement, including any and all EEO or EEOC complaints, MSPB appeals,

 and all other pending administrative complaints or grievances, related to the Claims released, but

 not including Plaintiff’s claim for attorneys’ fees and expenses pending in her federal lawsuit

 identified as Civil Action No. 3:15-cv-389.

        SEVENTEENTH: The Parties agree that the terms of this Agreement are binding only on

 the Parties themselves and are based on specific circumstances related to this matter alone. No

 precedent is established by this Agreement.

        SO AGREED.




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  Dated:   Ci' /1 '-l / 1 CO
                                    Brandi M. Stewart
                                    Special Attorney,
                                    Assistant United States Attorney
                                    United States Attorney's Office
                                    Southern District of Ohio
                                    Attorney for Defendant



  Dated: 9/tL{ /;.otS
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                                    Special Attorney,
                                    Assistant United States Attorney
                                    United States Attorney's Office
                                    Southern District of Ohio
                                    Attorney for Defendant




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